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                           IN THE UNITED STATES DISTRICT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION



  JOHN GARY HARDWICK, JR.

                        Petitioner

  v.                                                   CASE NO. 3:95-CV-00250

  WALTER MCNEIL, Secretary,
  Florida Department of Corrections

                    Respondent
  _____________________________________/

                     NOTICE OF FILING PETITIONER’S EXHIBIT LIST

         COMES NOW, JOHN GARY HARDWICK, JR., by and through undersigned counsel

  and hereby files Petitioner’s Exhibit List for the evidentiary hearing conducted on February 17-

  19, 2009.




                                       /S/ Terri L. Backhus
                                       TERRI L. BACKHUS
                                       Fla. Bar No. 0946427
                                       Backhus & Izakowitz, P.A.
                                       13014 N. Dale Mabry, #746
                                       Tampa, FL 33618
                                       (813) 269-7604

                                       Counsel for Mr. Hardwick




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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing Notice of Filing Petitioner’s

  Exhibit List has been furnished by electronic filing on February 21, 2009 to: Honorable Henry

  Lee Adams, Jr.; Sheryl L. Loesch, Clerk of Court; Mr. Steven White, Assistant Attorney General;

  Mr. George Bateh and Stephen Siegel, Asst. State Attorneys.



                                        /S/ Terri L. Backhus
                                        TERRI L. BACKHUS
                                        Fla. Bar No. 0946427
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                                        Counsel for Mr. Hardwick




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                               PETITIONER’S EXHIBIT LIST

  1.    Hardwick v. Crosby, 320 F.3d 1127 (11th Cir. 2003), Eleventh Circuit opinion;

  2.    Appendix to Emergency Motion to Vacate Judgment of Conviction and Sentence
        including affidavits and records;

  3.    Initial Intake, Public Defender Ann Finnell;

  4.    Life Over Death VI Syllabus 1984;

  5.    Life Over Death VII Syllabus 1986;

  6.    Resume’ of William Sheppard, Esquire;

  7.    Curriculum Vitae, Dr. Jethro Toomer, Ph.D.;

  8.    Report of Dr. Jethro Toomer, Ph.D.;

  9.    South Carolina Social Services and Juvenile Records;

  10.   John De La Howe School Records;

  11.   Excerpts from Duval County Jail Records;

  12.   Pre-trial Competency and Sanity Evaluation of Dr. George Bernard.

  13.   State’s pretrial Notice of Similar Fact Evidence, dated 2/27/86;

  14.   Public Defender - Duval County Jail intake notes;

  15.   Investigator Phillips partial list of witnesses provided by John Hardwick (3/28/85) and
        partial interview with Nell Lawrence (5/28/85);

  16.   Defendant’s Requested Voluntary Intoxication Jury Instruction;

  17.   Order for Psychiatric Examination, dated 4/3/85;

  18.   Notes of interview of John Hardwick, dated 2/6/86;

  19.   Motion to Withdraw or Alternatively for Appointment of Co-counsel by Frank Tassone,
        dated 2/13/86;



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  20.   Letter from Frank Tassone to John Hardwick, dated 2/21/86;

  21.   Phone message from John Hardwick to Frank Tassone, dated 2/24/86;

  22.   Frank Tassone’s handwritten witness list for subpoenas and reciprocal discovery, dated
        2/28/86.




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